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                       4
                           Attorneys for Defendant
                       5   Diverse Funding Associates, LLC
                       6
                       7
                       8                       UNITED STATES DISTRICT COURT
                       9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                      10                                  WESTERN DIVISION
LIPPES MATHIAS LLP




                      11
                      12    ARTIS-RAY CASH JR.,                     Case No. 2:24-cv-10354-WLH-SK

                      13                 Plaintiff,                 Hon. Wesley L. Hsu

                      14          vs.                               DECLARATION OF BERJ K.
                                                                    PARSEGHIAN IN SUPPORT OF
                      15    DIVERSE FUNDING                         MOTION TO DISMISS
                            ASSOCIATES, LLC,                        PLAINTIFF’S COMPLAINT
                      16
                                         Defendant.                 Hearing Date:      June 20, 2025
                      17                                            Time:              1:30 p.m.
                                                                    Courtroom:         9B
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                                        DECLARATION OF BERJ K. PARSEGHIAN IN SUPPORT OF
                                           MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                       1          I, Berj K. Parseghian, declare as follows:
                       2          1.        I am an attorney duly admitted to practice in all of the courts of the
                       3   State of California and am a partner with Lippes Mathias LLP, attorneys of record
                       4   for defendant Diverse Funding Associates, LLC herein. The facts set forth herein
                       5   are of my own personal knowledge and, if sworn, I could and would competently
                       6   testify thereto.
                       7          2.        I have reviewed the United States District Court for the Central
                       8   District of California’s Electronic Case Filing System and have identified the
                       9   following twenty-one actions (in addition to the present matter) filed by Plaintiff in
                      10   the District:
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                      11               i.   Artis Cash v. First Collection Services et al., Case No. 2:19-cv-09416-
                      12                    SVW-E, filed on November 1, 2019.
                      13           ii.      Artis Cash v. Experian Information Solutions, Inc. et al., Case No.
                      14                    2:21-cv-03672-RGK-SHK, filed on April 29, 2021.
                      15          iii.      Artis-Ray Cash v. Experian, Case No. 2:23-cv-06688-FMO-JC, filed
                      16                    on August 15, 2023.
                      17          iv.       Artis-Ray Cash, Jr. v. Midland Credit Management, Inc. et al., Case
                      18                    No. 2:23-cv-10126-HDV-SSC, filed on December 1, 2023.
                      19           v.       Artis-Ray Cash Jr. v. Caesars Entertainment, Inc., Case No. 2:23-cv-
                      20                    10570-JFW-PVC, filed on December 18, 2023.
                      21          vi.       Artis-Ray Cash Jr. v. Phillips & Cohen Associates Ltd., Case No. 2:24-
                      22                    cv-00012-HDV-MAR, filed on January 2, 2024.
                      23          vii.      Artis-Ray Cash v. LVNV Funding LLC et al., Case No. 2:24-cv-00474-
                      24                    MRA-E, filed on January 18, 2024.
                      25         viii.      Artis-Ray Cash Jr. v. Credit Control, LLC et al., Case No. 2:24-cv-
                      26                    08447-AH-E, filed on October 1, 2024.
                      27          ix.       Artis-Ray Cash v. Absolute Resolutions Investments LLC, Case No.
                      28                    2:24-cv-09093-SRM-MAA, filed on October 22, 2024.

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                                            DECLARATION OF BERJ K. PARSEGHIAN IN SUPPORT OF
                                               MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                       1          x.    Artis-Ray Cash v. Maximus, INC., Case No. 2:24-cv-09094-RGK-AS,
                       2                filed on October 22, 2024.
                       3          xi.   Artis-Ray Cash, Jr. v. Cavalry Portfolio Services, LLC, Case No. 2:24-
                       4                cv-09738-SRM-E, filed on November 12, 2024.
                       5         xii.   Artis-Ray Cash Jr. v. Velocity Portfolio Group, INC., Case No. 2:24-
                       6                cv-10357-JFW-MAA, filed on December 2, 2024.
                       7        xiii.   Artis-Ray Cash, Jr. v. Vervent, Inc., Case No. 2:24-cv-10359-DMG-
                       8                BFM, filed on December 2, 2024.
                       9        xiv.    Artis-Ray Cash Jr v. Resurgent Capital Services, L.P., Case No. 2:24-
                      10                cv-10356-ODW-SK, filed on December 2, 2024.
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                      11         xv.    Artis-Ray Cash Jr. v. Shelter Mutual Insurance Company, Case No.
                      12                2:24-cv-10355-FMO-JPR, filed on December 2, 2024.
                      13        xvi.    Artis-Ray Cash v. Convergent Outsourcing, Inc., Case No. 2:25-cv-
                      14                00663-AB-PD, filed on January 24, 2025.
                      15       xvii.    Artis-Ray Cash Jr v. Experian Information Solutions, Inc. et al., Case
                      16                No. 8:25-cv-00165-JWH (ADSx), filed on January 29, 2025.
                      17       xviii.   Artis-Ray Cash Jr. v. Housing Authority of the City of Los Angeles
                      18                (HACLA) et al., Case No. 2:25-cv-00962-WLH-DFM, filed on
                      19                February 4, 2025.
                      20        xix.    Artis-Ray Cash Jr v. TransUnion, LLC et al., Case No. 2:25-cv-00961-
                      21                RGK-DFM, filed on February 4, 2025.
                      22         xx.    Artis-Ray Cash, Jr. v. Radius Global Solutions, LLC, Case No. 2:25-
                      23                cv-01481-DMG-JDE, filed on February 21, 2025.
                      24        xxi.    Artis-Ray Cash Jr. v. Penn Credit Corporation, Case No. 2:25-cv-
                      25                01483-MWF-AS, filed on February 21, 2025.
                      26         3.     Plaintiff did not file an in forma pauperis (“IFP”) application in either
                      27 Artis Cash v. First Collection Services or Artis Cash v. Experian Information
                      28 Solutions, Inc.

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                                        DECLARATION OF BERJ K. PARSEGHIAN IN SUPPORT OF
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                       1         4.     In Artis-Ray Cash v. Experian, Plaintiff requested and was granted
                       2   IFP status. (ECF Nos. 3, 7.) Plaintiff reached a settlement in this action on or
                       3   before February 13, 2024. (ECF No. 25.) Attached hereto as Exhibit A is a true
                       4   and correct copy of the Notice of Settlement.
                       5         5.     Plaintiff’s complaint in Artis-Ray Cash, Jr. v. Midland Credit
                       6   Management, Inc. et al. demanded $2,000,000. (ECF No. 1.) Plaintiff requested
                       7   and was granted IFP status. (ECF Nos. 3, 8.) Plaintiff reached a settlement in this
                       8   action on or before July 22, 2024. (ECF No. 33.) Attached hereto as Exhibit B is
                       9   a true and correct copy of the Notice of Settlement.
                      10         6.     In Artis-Ray Cash Jr. v. Caesers Entertainment, Inc., Plaintiff
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                      11   requested IFP status. (ECF No. 3.) The court initially postponed ruling on the
                      12   request because of inconsistencies in the information Plaintiff provided. (ECF No.
                      13   8.) After Plaintiff provided additional information, the court denied IFP status,
                      14   finding Plaintiff “is able to pay the filings fees.” (ECF No. 12.) Attached hereto as
                      15   Exhibits C and D are a true and correct copy of the court’s orders. The court
                      16 subsequently dismissed this action because Plaintiff failed to pay the $402 filing
                      17 fee. (ECF No. 13.)
                      18         7.     In Artis-Ray Cash Jr. v. Phillips & Cohen Associates Ltd., Plaintiff
                      19 requested but was denied IFP status because the court found, sua sponte, that
                      20 Plaintiff failed to state a claim. (ECF Nos. 3, 9.)
                      21         8.     In Artis-Ray Cash v. LVNV Funding LLC et al., Plaintiff requested but
                      22 was denied IFP status because the court found, sua sponte, that Plaintiff failed to
                      23 state a claim. (ECF Nos. 2, 9.)
                      24         9.     In Artis-Ray Cash Jr. v. Credit Control, LLC et al., Plaintiff requested
                      25 and was granted IFP status. (ECF Nos. 3, 9.)
                      26         10.    In Artis-Ray Cash v. Absolute Resolutions Investments LLC, Plaintiff
                      27 requested and originally was denied IFP status. (ECF Nos. 2, 9.) The court
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                                        DECLARATION OF BERJ K. PARSEGHIAN IN SUPPORT OF
                                           MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                       1   subsequently granted a motion for reconsideration, vacated its prior decision, and
                       2   granted IFP status. (ECF No. 11.)
                       3         11.    In Artis-Ray Cash v. Maximus, INC., Plaintiff requested and was
                       4   granted IFP status. (ECF Nos. 2, 8.) Plaintiff reached a settlement in this action on
                       5   or before January 27, 2025. (ECF No. 15.)      Attached hereto as Exhibit E is a true
                       6   and correct copy of the Notice of Settlement.
                       7         12.    In Artis-Ray Cash, Jr. v. Cavalry Portfolio Services, LLC, Plaintiff
                       8   requested and was granted IFP status. (ECF Nos. 3, 9.)
                       9         13.    In Artis-Ray Cash Jr. v. Velocity Portfolio Group, INC., Plaintiff
                      10   requested and originally was denied IFP status. (ECF Nos. 3, 9.) The court
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                      11   subsequently granted a motion for reconsideration, vacated its prior decision, and
                      12   granted IFP status. (ECF No. 11.)
                      13         14.    In Artis-Ray Cash, Jr. v. Vervent, Inc., Plaintiff requested and was
                      14   granted IFP status. (ECF Nos. 3, 7.) Plaintiff reached a settlement in this action on
                      15   or before February 4, 2025. (ECF No. 8.) Attached hereto as Exhibit F is a true
                      16   and correct copy of the Joint Stipulation to Dismiss.
                      17         15.    In Artis-Ray Cash Jr v. Resurgent Capital Services, L.P., Plaintiff
                      18   requested and originally was denied IFP status. (ECF Nos. 2, 7.) The court
                      19   subsequently granted a motion for reconsideration, vacated its prior decision, and
                      20   granted IFP status. (ECF No. 9.)
                      21         16.    In Artis-Ray Cash Jr. v. Shelter Mutual Insurance Company, Plaintiff
                      22   requested and was granted IFP status. (ECF Nos. 3, 7.)
                      23         17.    In Artis-Ray Cash v. Convergent Outsourcing, Inc., Plaintiff requested
                      24   IFP status. (ECF No. 2.) On January 24, 2025, the court ordered Plaintiff file an
                      25 amended complaint before it determined the IFP application. (ECF No. 8.) The
                      26 court subsequently denied IFP status and dismissed the case for lack of
                      27 jurisdiction. (ECF No. 10.)
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                                        DECLARATION OF BERJ K. PARSEGHIAN IN SUPPORT OF
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                       1         18.    In Artis-Ray Cash Jr v. Experian Information Solutions, Inc. et al.,
                       2   Plaintiff requested and originally was granted IFP status. (ECF Nos. 2, 7.)
                       3   However, on May 6, 2025, the court entered an order granting the defendant’s
                       4   motion to dismiss and dismissing the action with prejudice, finding that
                       5   “[Plaintiff’s] allegation of poverty was untrue” and that “[Plaintiff] deliberately
                       6   concealed his prior settlement income in order to gain access to th[e] Court without
                       7   prepayment of filings fees.” (ECF No. 29.) Attached hereto as Exhibit G is a true
                       8 and correct copy of the court’s order.
                       9         19.    In Artis-Ray Cash Jr. v. Housing Authority of the City of Los Angeles
                      10 (HACLA) et al., Plaintiff requested and was denied IFP status because the court,
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                      11 sua sponte, determined that it lacked subject matter jurisdiction over the action.
                      12 (ECF Nos. 3, 7.)
                      13         20.    In Artis-Ray Cash Jr v. TransUnion, LLC et al., Plaintiff requested
                      14 and was granted IFP status. (ECF Nos. 2, 8.)
                      15         21.    In Artis-Ray Cash, Jr. v. Radius Global Solutions, LLC, Plaintiff
                      16 requested and was granted IFP status. (ECF Nos. 2, 7.)
                      17         22.    In Artis-Ray Cash Jr. v. Penn Credit Corporation, Plaintiff requested
                      18 and was granted IFP status. (ECF Nos. 2, 7.)
                      19         I declare under penalty of perjury under the laws of the United States of
                      20 America that the foregoing is true and correct and that this declaration was
                      21 executed on May 9, 2025, at New York, New York.
                      22
                      23                                              /s/ Berj K. Parseghian
                                                                      Berj K. Parseghian
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                                        DECLARATION OF BERJ K. PARSEGHIAN IN SUPPORT OF
                                           MOTION TO DISMISS PLAINTIFF’S COMPLAINT
